              17-11524-shl            Doc 57   Filed 04/18/19    Entered 04/18/19 15:51:09          Main Document
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                                                   Ortiz & Ortiz, L.L.P.
                                                          Attorneys at Law
                                                    32-72 Steinway Street, Suite 402
                                                       Astoria, New York 11103


Frank A. Ortiz (1931 to 2016)                                                                              Tel. (718) 522-1117
Norma E. Ortizw                                                                                            Fax (718) 596-1302
  ________                                                                                            email@ortizandortiz.com

Kay Uswatte, Of Counselw
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    (Admitted in New York and New Jersey)




                                                                                April 18, 2019

              VIA ECF
              Hon. Sean H. Lane
              One Bowling Green
              New York, NY 10004

                                                        Re:     1018 MORRIS PARK AVE. REALTY INC.
                                                                Case No. 17-11524-shl

              Dear Judge Lane:

                     Your Honor directed the Debtor to retain tax counsel no later than today. It retained
              Meister Seelig & Fein LLP this week.

                       I provided a sample Declaration to the partner responsible for the engagement, Robert G.
              Goldberg. I explained to Mr. Goldberg that the application was due today, and asked that he
              assist in completing the Declaration so that I could submit an application for retention to the U.S.
              Trustee as soon as possible.

                      For these reasons, I request that the Court provide the Debtor until next week to file the
              application.

                         Thank you for your assistance.

                                                                                Very truly yours,

                                                                                /s/ Norma E. Ortiz

                                                                                Norma E. Ortiz

              cc: Richard Morrissey, Esq.
